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                           UNITED STATES BANKRUPTCY COURT                   NTCTRC (rev 09/2014)
                                 Southern District of Indiana
                                  46 E. Ohio St., Rm. 116
                                   Indianapolis, IN 46204
In re:

Thomas Andrew Gravelie,                                   Case No. 07−02864−JMC−7A
Tamera Schmidt Gravelie,
           Debtors.

                             NOTICE OF TRANSFER OF CLAIM

A Transfer of Claim #10 was filed on June 11, 2019, by Creditor Christopher Christensen
and is attached to this notice.

NOTICE IS GIVEN that the transferee will be substituted as the original claimant without
further order of the Court unless an objection is filed by July 2, 2019.

Dated: June 11, 2019                           Kevin P. Dempsey
                                               Clerk, U.S. Bankruptcy Court
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